                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN


ESTATE OF RUTH FREIWALD, et al.,

                       Plaintiffs,

               v.     Case             No.         18-C-896


ADEYEMI FATOKI,

                       Defendant.



                                     SPECIAL VERDICT


       We the jury, for our Special Verdict, answer the questions submitted to us as follows:


       Question 1. Was Dr. Fatoki deliberately indifferent to the serious medical needs of Ruth
Freiwald in violation of the Eighth Amendment?

       ANSWER: Yes No X

       If you answered "Yes" to Question 1, then answer Questions 2 and 3. If you answered
"No " to Question 1, do not answer any other questions.




       Question 2. Was Dr. Fatoki's deliberate indifference a cause of Ruth Freiwald pain and
suffering before her death?

       ANSWER: Yes No

       Continue to Question 3.



       Question 3. Was Dr. Fatold's deliberate indifference a cause of Ruth Freiwald's death?


       ANSWER: Yes No

       If you answered "yes" to Question 2, then answer this question:




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        Question 4. What sum of money will reasonably and fairly compensate the Estate of Ruth
Freiwald for Ruth Freiwald's physical and mental suffering caused by Dr. Patold's deliberate
indifference?

       ANSWER: $

        If you answered "yes " to Question 3, then answer Questions 5, 6, and 7. If you answered
Question 3 "no ", do not answer those questions.




       Question 5. What sum of money will reasonably and fairly compensate the Estate of Ruth
Freiwald for Ruth Freiwald's medical bills?

       ANSWER: $156,372.00.

       Continue to Question 6.



       Question 6. What sum of money will reasonably and fairly compensate the Estate for Ruth
Freiwald's loss of life and the enjoyment thereof?


       ANSWER: $

       Continue to Question 7.



       Question 7. What sum of money will reasonably and fairly compensate the children of
Ruth Freiwald for the loss of society and companionship of their mother?


       ANSWER: $

       If you answered either Question 2 or Question 3 "yes", then answer Question 8.



       Question 8. Was Dr. Fatold's deliberate indifference malicious or in reckless disregard of
Ruth Freiwald's rights?

       ANSWER: Yes No

       If you answered Question 8 "yes, " then answer Question 9. If you answered Question
'no, " do not answer any more questions.




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          Question 9. What amount, if any, do you award as punitive damages against Adeyemi
Fatoki?

          ANSWER: $

          Dated at Green Bay, Wisconsin this } \ day of August, 2021.

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                                                     Jury Foreperson /




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